Case 4:06-cr-00024-SPM-WCS                Document 122   Filed 03/24/08   Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                   CASE NO.: 4:06-CR-024-SPM

JOSE LUIS LEDESMA,


     Defendant.
_______________________________/


     ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

        THIS CAUSE comes before the Court upon the magistrate judge's Report

and Recommendation (doc. 119) dated January 7, 2008. The parties have been

furnished a copy and have been afforded an opportunity to file objections.

Defendant filed objections (doc. 120) on January 28, 2008.

        Pursuant to Title 28, United States Code, Section 636(b)(1), I have made

a de novo determination of those portions to which an objection has been made.

Even in light of the “Haines rule”1, which prescribes a liberal construction of pro

se inmate filings, Defendant’s claims lack merit. The magistrate judge carefully

considered the factual history available to him in making his decision and applied

the correct legal standard in reaching a decision. Even considering all facts in

        1
            Haines v. Kerner, 404 U.S. 519 (1972).
Case 4:06-cr-00024-SPM-WCS          Document 122        Filed 03/24/08    Page 2 of 2




the light most favorable to Defendant, the motion fails to state a claim for relief.

Defendant’s objections do not rise to the level of showing entitlement to any

relief. Defendant has not demonstrated any error in the magistrate’s report or the

findings contained therein. In addition, this Court specifically finds that

Defendant’s trial counsel was not ineffective.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.     The magistrate judge's Report and Recommendation (doc. 119) is

              adopted and incorporated by reference in this order.

       2.     Defendant’s §2255 post-conviction motion (doc. 107) is hereby denied

              with prejudice.

       DONE AND ORDERED this twenty-fourth day of March, 2008.




                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




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